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Treasury Targets Assets of Russian Financier who Attempted to
Influence 2018 U.S. Elections
September 30, 2019
Washington – Today, the U.S. Treasury Department’s Office of Foreign Assets Control
(OFAC) took action against Russian actors that attempted to influence the 2018 U.S.
midterm elections, though there was no indication that foreign actors were able to
compromise election infrastructure that would have prevented voting, changed vote
counts, or disrupted the tallying of votes. Today’s action also increases pressure on
previously designated person Yevgeniy Prigozhin by targeting his physical assets,
including three aircraft and a yacht, as well as employees of the Internet Research
Agency, which Yevgeniy Prigozhin finances. While today’s action only targets Russian
actors, the U.S. Government is safeguarding our democratic processes from adversaries
— primarily Russia, Iran, and China — that may be seeking to influence the upcoming
2020 elections.
“Treasury is targeting the private planes, yacht, and associated front companies of
Yevgeniy Prigozhin, the Russian financier behind the Internet Research Agency and its
attempts to subvert American democratic processes. Free and fair elections are the
cornerstone of American democracy, and we will use our authorities against anyone
seeking to undermine our processes and subversively influence voters,” said Secretary
Steven T. Mnuchin. “This Administration will work tirelessly to safeguard our electoral
process, and will aggressively pursue any other foreign actor that attempts to interfere
in the 2020 elections.”
Today’s action marks Treasury’s first imposition of sanctions under E.O. 13848,
“Imposing Certain Sanctions in the Event of Foreign Interference in a United States
Election,” which the President signed in September 2018, warning all countries that they
may face sanctions should they interfere in U.S. elections.

DESIGNATION TARGETS

Today’s action targets four entities, seven individuals, three aircraft, and a yacht that
are all associated with the Internet Research Agency and its financier, Yevgeniy
Prigozhin.
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The Internet Research Agency used fictitious personas on social media and
disseminated false information in an effort to attempt to influence the 2018 U.S.
midterm elections and try to undermine faith in U.S. democratic institutions. In
connection with the 2018 U.S. midterm elections, the Internet Research Agency
conducted a variety of activities that were part of a broad campaign to try to influence
the U.S. political system. For example, as of October 2018, the Internet Research
Agency released a staged video filmed by one of their employees that claimed they
were seeking to influence and interfere in the 2018 midterms. In November 2018, the
Internet Research Agency posted a statement on a website titled the “Internet Research
Agency American Division” claiming that the organization sought to discredit candidates
it deemed hostile to Russia and that they were utilizing social media to further its
campaign. As a result of these activities, the Internet Research Agency is being
designated pursuant to E.O. 13848 for directly or indirectly engaging in, sponsoring,
concealing, or otherwise being complicit in foreign interference in a U.S. election.
The Internet Research Agency was previously designated pursuant to E.O. 13694, as
amended, on March 15, 2018.
The Treasury Department is also imposing sanctions on six members of the Internet
Research Agency for their efforts in furthering the objectives of the organization. As of
2018, Dzheykhun Nasimi Ogly Aslanov (Aslanov), Mikhail Leonidovich
Burchik (Burchik), Vadim Vladimirovich Podkopaev (Podkopaev), Vladimir Dmitriyevich
Venkov (Venkov), Igor Vladimirovich Nesterov (Nesterov), and Denis Igorevich
Kuzmin (Kuzmin) were all members of the Internet Research Agency involved in
attempting to interfere in U.S. elections. As a result, Aslanov, Burchik, Podkopaev,
Venkov, Nesterov, and Kuzmin are being designated pursuant to E.O. 13848 for acting
for or on behalf of and materially assisting the Internet Research Agency in connection
with the 2018 U.S. midterm elections.
Aslanov, Burchik, Podkopaev, and Venkov were previously designated pursuant to E.O.
13694, as amended, on March 15, 2018.
In renewed action, the Treasury Department is increasing its pressure against Yevgeniy
Prigozhin (Prigozhin) by not only calling out his support for the Internet Research
Agency in connection with its efforts to interfere in the 2018 U.S. midterm elections, but
also identifying his personal property, including several private jets and a
yacht. Prigozhin has spent significant funds to further the Internet Research Agency’s
attempted influence operations in connection with the 2018 U.S. midterm elections. As
a result, Prigozhin is being designated pursuant to E.O. 13848 for materially assisting
and providing financial support to the Internet Research Agency in connection with the
2018 U.S. midterm elections.




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Prigozhin was previously designated pursuant to E.O. 13694, as amended, on March 15,
2018. Prigozhin was also designated pursuant to E.O. 13661 on December 20, 2016 for
materially assisting senior officials of the Russian Federation.
Prigozhin utilizes a series of front companies to manage his luxury personal property to
include three private jets and a yacht. Beratex Group Limited (Beratex), an entity
registered in the Seychelles, owns and operates a private jet that until just recently flew
under the tail number M‐VITO. Beratex originally purchased M‐VITO in 2012, and since
then, photographs on social media accounts have shown that Prigozhin’s family have
used the plane. Between 2017 and 2018, M‐VITO conducted numerous flights
throughout Africa, the Middle East, and Europe to include Sudan, the Central African
Republic, Madagascar, Ethiopia, Libya, Syria, Lebanon, the United Arab Emirates,
Armenia, Germany, Spain, and Russia. In addition to M‐VITO, Beratex is also the
registered owner of St. Vitamin, a yacht the company acquired in 2014. Prigozhin’s
family has vacationed on St. Vitamin, as evidenced by photographs posted on social
media accounts. Beratex is being designated pursuant to E.O. 13661, E.O. 13694, as
amended, and E.O. 13848 for materially assisting Prigozhin. M‐VITO and St. Vitamin are
being identified as property in which Beratex has an interest.
Prigozhin also owns and uses VP‐CSP, a private jet registered in the Cayman
Islands. Since 2017, Linburg Industries LTD. (Linburg), a company incorporated in the
Seychelles, has been the registered owner and operator of VP‐CSP. Between 2017 and
2018, VP‐CSP conducted flights throughout Africa, the Middle East, and Europe to
include Sudan, the Central African Republic, Egypt, Libya, Lebanon, Syria, Germany,
Spain, Greece, Finland, Estonia, and Russia. Linburg is being designated pursuant to E.O.
13661, E.O. 13694, as amended, and E.O. 13848 for materially assisting Prigozhin. VP‐
CSP is being identified as property in which Linburg has an interest.
Finally, by October 2018, Prigozhin’s employees arranged for the purchase of M‐SAAN, a
private jet registered in the Isle of Man. M‐SAAN’s registered owner and operator
is Autolex Transport Ltd. (Autolex), a company incorporated in the Seychelles. Autolex
is being designated pursuant to E.O. 13661, E.O. 13694, as amended, and E.O. 13848 for
materially assisting Prigozhin. M‐SAAN is being identified as property in which Autolex
has an interest.
As a result of today’s designations, all property and interests in property of these
persons, including the identified aircraft and vessel, that are or come within the
possession of U.S. persons are blocked, and U.S. persons are generally prohibited from
engaging in transactions with them. Additionally, any entities 50 percent or more
owned by one or more of these designated persons are also blocked. Due to the
designation of some of these persons under E.O. 13694, as amended, and E.O. 13661,




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foreign persons may be subject to secondary sanctions for knowingly facilitating a
significant transaction or transactions with those designated persons.
The identification of these aircraft and vessel serves as a warning to those who continue
to provide M‐VITO, St. Vitamin, VP‐CSP, and M‐SAAN landing rights or other general
services. By continuing to service these aircraft and the vessel, providers of such
services run the risk of facilitating or supporting Prigozhin’s nefarious activities and may
also be subject to future sanctions.
Identifying information on the individuals and entities designated today.


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